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                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               GREENSBORO DIVISION

 In Re:                               )
                                      )
 Avery Bradley Green,                 )              Case No. B-17-11043 C-7G
                                      )
                Debtor.               )
 ________________________________ )
                                      )
 Everett B. Saslow, Jr., Trustee,     )
                                      )
                Plaintiff,            )        Adversary Proceeding No. A-19-_______ G
                                      )
        vs.                           )
                                      )
 CitiFinancial Servicing LLC; OneMain )
 Financial Group, LLC; William E.     )
 McCormick; State of North Carolina;  )
 and Department of the Treasury,      )
                                      )
                Defendants.           )

COMPLAINT FOR DECLARATORY JUDGMENT REGARDING CERTAIN LIENS IN
               ROBESON COUNTY, NORTH CAROLINA

       Everett B. Saslow, Jr., Trustee in the Chapter 7 bankruptcy case of Debtor Avery Bradley
Green, by and through counsel, complaining of the Defendants CitiFinancial Servicing LLC;
OneMain Financial Group, LLC; William E. McCormick; State of North Carolina; and
Department of the Treasury, alleges and says as follows:

        1.     On September 15, 2017, the bankruptcy debtor Avery Bradley Green (“Debtor”)
filed in the United States Bankruptcy Court for the Middle District of North Carolina,
Greensboro Division (“Court”) a voluntary petition under Chapter 11 of the United States
Bankruptcy Code. Everett B. Saslow, Jr. (“Trustee’) was appointed as the Chapter 11 Trustee on
January 17, 2018. The Chapter 11 bankruptcy case converted to case under Chapter 7 on August
9, 2018, and Everett B. Saslow, Jr. is currently appointed and qualified as the Chapter 7 Trustee
in the bankruptcy case.

       2.     The Trustee is a party-in-interest with standing to bring this Adversary
Proceeding.

        3.     This proceeding is instituted pursuant to Bankruptcy Rule 7001, and the Court has
jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 151, 157, and 1334. This is a core
proceeding pursuant to 28 U.S.C. § 157.



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        4.      The Trustee is informed and believes, and therefore upon such information and
belief alleges, that the defendant CitiFinancial Servicing LLC is a limited liability company
authorized to do business in the State of North Carolina at relevant times and sometimes doing
business under the name “CitiFinancial.”

        5.      The Trustee is informed and believes, and therefore upon such information and
belief alleges, that the defendant OneMain Financial Group, LLC is a limited liability company
authorized to do business in the State of North Carolina at relevant times and sometimes doing
business under the name “OneMain Financial.”

        6.      The Trustee is informed and believes, and therefore upon such information and
belief alleges, that the defendant William E. McCormick is a citizen and resident of Robeson
County, North Carolina and is neither an infant or incompetent.

        7.       The Trustee is informed and believes, and therefore upon such information and
belief alleges, that the defendant State of North Carolina is a state.

        8.       The Trustee is informed and believes, and therefore upon such information and
belief alleges, that the defendant Department of the Treasury is an agency of the United States.

       9.      Avery Bradley Green and Donald Reid Green inherited from their mother Zeddie
B. Green all interests in real property and personal property owned by Zeddie B. Green as of the
date of her death, with both Avery Bradley Green and Donald Reid Green entitled to an
undivided 50% interest in all property owned by Zeddie B. Green as of the date of her death after
payment of valid liens.

                                 FIRST CLAIM FOR RELIEF

      10.     The Trustee incorporates herein by reference all preceding paragraphs of this
Complaint.

       11.    Attached hereto as Exhibit 1 are copies of Magistrates Summons issued
September 16, 2009 in case No. 9 CvM 02455 in the office of the Clerk of Superior Court of
Robeson County, together with a copy of the Complaint For Money Owed as filed in that case,
together with a copy of the Judgment in Action to Recover Money or Personal Property filed
October 15, 2009 in the amount of $5,000 (the “CitiFinancial Judgment”). The CitiFinancial
Judgment is against an individual named Donald Green, 330 Lamb Road, Unit 1, Lumberton, NC
28358.

        12.     The Trustee is informed and believes that CitiFinancial did transfer or may have
transferred the CitiFinancial Judgment to defendant OneMain Financial.

        13.     The Trustee is informed and believes and therefore upon such information and
belief alleges, that the defendant Donald Green in case No. 09 CvM 02455 is an individual
different than Donald Reid Green who inherited from his mother’s Zeddie B. Green all interest in
real property owned by Zeddie B. Green as of the date of her death. Donald Reid Green
currently is living in Hardee County, Florida. The docketing of the CitiFinancial Judgment in
case No. 09 CvM 02455 in Robeson County, North Carolina does not create a judgment lien


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against the interest in real estate owned by Donald Reid Green in Robeson County, North
Carolina.

       14.    The Trustee requests that the Court enter a Declaratory Judgment adjudging and
decreeing that the CitiFinancial Judgment against Donald Green of 330 Lamb Road, Unit 1,
Lumberton, NC 28358 does not create a lien against the interests in real estate in Robeson
County owned by Donald Reid Green.

                                   SECOND CLAIM FOR RELIEF

      15.     The Trustee incorporates herein by reference all preceding paragraphs of this
Complaint.

       16.    Attached hereto as Exhibit 2 is a copy of Notice of Federal Tax Lien filed in the
office of the Clerk of Superior Court of Robeson County as 18 M 00139 in the amount of
$14,771.06 (the “IRS Notice”). The IRS Notice is against an individual named Donald Green,
330 Lamb Road, Lot 1, Lumberton, NC 28358-9328.

        17.     The Trustee is informed and believes and therefore upon such information and
belief alleges, that the Donald Green named in the IRS Notice is an individual different than
Donald Reid Green who inherited from his mother Zeddie B. Green all interests in real property
owned by Zeddie B. Green as of the date of her death. Donald Reid Green currently is living in
Hardee County, Florida. The filing of the IRS Notice in Robeson County, North Carolina does
not create a judgment lien against the interest in real estate owned by Donald Reid Green in
Robeson County, North Carolina.

       18.     The Trustee requests that the Court enter a Declaratory Judgment adjudging and
decreeing that the IRS Notice against Donald Green of 330 Lamb Road, Lot 1, Lumberton, NC
28358 does not create a lien against the interests in real estate in Robeson County, North
Carolina owned by Donald Reid Green.

                                    THIRD CLAIM FOR RELIEF

      19.     The Trustee incorporates herein by reference all preceding paragraphs of this
complaint.

       20.    Attached hereto as Exhibit 3 are copies of a judgment from Robeson County in
connection with case number 05 CRS 55737, being State of North Carolina vs. Donald Reid
Green and including a bond forfeiture, with the judgment docketed on March 10, 2008 in the
principal amount of $9,021.37 (the “State of North Carolina Judgment”). The State of North
Carolina Judgment is disputed by the Trustee based upon the grounds that it appears that the ten
year statute of limitations for enforcing judgments (N. C. G. S. §1-47(1)) applies to bar
enforcement of the State of North Carolina Judgment.

        21.     The Trustee requests that the Court enter a Declaratory Judgment providing that
the State of North Carolina Judgment does not create a valid lied upon the ownership interests in
real estate of Donald Reid Green.



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                                    FOURTH CLAIM FOR RELIEF

      22.      The Trustee incorporates herein by reference all preceding paragraphs of this
Complaint.

        23.    Attached hereto as Exhibit 4 are copies from Robeson County of a judgment
docketed on July 29, 2010 in the amount of $3,938.25 principal arising from the small claims
action brought by William E. McCormick vs. Zeddie Green and identified as case number 10
CVM 1546 (the “McCormick Judgment”). The McCormick Judgment was appealed by Zeddie
Green from small claims court to the District Court Division and was assigned case number 10
CVD 2247 in Robeson County. The plaintiff William E. McCormick gave notice of voluntary
dismissal without prejudice filed September 13, 2010 in case number 10 CVD 2247. The
Trustee contends that the McCormick Judgment docketed on July 29, 2010 in the amount of
$3,938.25 is not a valid judgment lien because of the plaintiff’s voluntary dismissal of the action
during the pendency of the appeal.

       24.    The Trustee requests that the Court enter a Declaratory Judgment providing that
the McCormick Judgment does not create a valid lied upon the ownership interest in real estate
of Zeddie B. Green or her heirs.

        WHEREFORE, Everett B. Saslow, Jr., Chapter 7 Trustee, requests that the Court grant
the following relief:

      1.      That the Court order and adjudge that the CitiFinancial Judgment is not a
judgment lien against ownership interests in real estate in Robeson County, North Carolina held
by Donald Reid Green; and

       2.     That the Court order and adjudge that the IRS Notice is not a judgment lien
against ownership interests in real estate in Robeson County, North Carolina held by Donald
Reid Green; and

       3.      That the Court order and adjudge that the State of North Carolina Judgment is not
an enforceable judgment lien against ownership interests in real estate in Robeson County, North
Carolina held by Donald Reid Green; and

        4.     That the Court order and adjudge that the McCormick Judgment is not a judgment
lien against ownership interest in real estate in Robeson County, North Carolina held by Donald
Reid Green or held by Avery Bradley Green as heirs of Zeddie B. Green; and

       5.      That the Court tax the costs of this proceeding as may be appropriate; and

       6.     That the Court grant to the Trustee such other and further relief as the Court
deems just and proper.




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      This the 15th day of March, 2019.

                                                s/ Everett B. Saslow, Jr.
                                                Everett B. Saslow, Jr.
                                                N. C. State Bar No. 7301

                                                s/Albert L. Saslow
                                                Albert L. Saslow
                                                N.C. State Bar No. 40051


OF COUNSEL:

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